mma/ai Case 2:02-Cr-20098-.]DB Document 46 Filed 06/02/05 Page 1 of 6 Page|D 73
UNITED STATES DISTRICT COURT
Fn.a'o ar n

for ' ~
___.m_. D.C.
WESTERN DISTRICT OF TENNESSEE

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29,093-001

 
  
 

U.S.A. vs. Charmane.lones DocketN

      

Petil;ion on Probation and Supervised Release ` `);` FN' ML`MPH|S
COMES NOW Lorin J. Smith, PROBATION OFFICER OF 'I`HE COURT presenting an official report upon
the conduct and attitude of Charmane Jones, who was placed on Supervision by the Honorable J. Daniel Breen,
United States District Judge, sitting in the Court at Memphis, Tennessee on the §§ day of August L)Q_§, who
fixed the period of supervision at *two §2) years, and imposed the general terms and conditions theretofore adopted
by the Court and also imposed special conditions and terms as follows:

The defendant shall participate in substance abuse treatment and testing as directed by the probation office
The defendant shall attempt to obtain his GED as directed by the probation office.

The defendant shall obtain and maintain full time, verifiable employment as directed by the probation office.
The defendant shall participate in mental health treatment as directed by the probation office.**

PP°!\>!“

* Supervised Release began on February 25 , 2004.
** Amended to include on January 26, 2005.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLL()WS:

(If short insert here; 1]" lengthy wn'te on separate sheet and attach )

SEE ATTACHED

PRAYING THAT THE COURT WILL ORDER that WARRANT be issued for Charmane J ones to appear
before the United States District Court to answer to charges of violation of Supervised Release.

BOND: NO §§

 

ORDER OF COURT
I declare under penalty of perjury that the foregoing
Con§dered and ordered this day is true and correct.
of 'JL--L , ZO°L, and ordered filed
and made a part of the records in the above Executed
C On Q`,F J§, C;OO 5

Un@tates Distiict Judge \ y L@Smith _"

U.S. Probation Officer

Place: Memphis, Tennessee ,--

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RE: Charmane Jones
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Probation Form 12
Page 2

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

THE DEFENDANT HAS VIOLATED THE FOLLOWING CONDITIONS OF SUPERVISED RELEASE:
The defendant shall not commit another federal, state or local crime.

On May 1, 2005, Mr. J ones was taken into custody after a court hearing for failure to appear by Bartlett City Police
Officers. Prior to entering the penal facility Mr. J ones was asked if he had any contraband on him. He replied, “no.”
Upon routine search of the defendant’s person a clear plastic bag containing a green leafy substance, consistent with
marijuana was located in the defendant’s left sock underneath the defendant’s ankle. A field test was performed
on the green leafy substance. The test confirmed that the substance was marijuana

Bartlett Police Department charged Mr. Jones with Introduction of Contraband into a Penal Institution, a C felony.
Mr. Jones has been released from custody on $1000.00 bail. He is scheduled to appear in Bartlett City Court June
22, 2005 on this charge.

The defendant shall refrain from the unlawful use of a controlled substance.

Charmane J ones tested positive for the use of marijuana on July 23, 2004 and December 27, 2004.

The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute,
or administer any controlled substance or any paraphernalia related to any controlled substance, except as
prescribed by a physician.

On May l, 2005, Charmane J ones was in possession of 5.1 grams of marijuana
The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law
enforcement officer.

Mr. Charmane Jones was arrested by the Bartlett City Police Department on May l, 2005 for Introduction of
Contraband Into a Penal Institution.

Mr. Jones failed to notify the probation officer of this arrest within 72 hours.
The defendant shall participate in mental health treatment as directed by the probation office

On Apri] 11, 2005, Charmane J ones was referred to Foundations Associates for Mental Health Treatment. He failed
to contact Foundation Associates as required

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l. Defendant: Charmane Jones, 2510 Lockmeade, Memphis, TN 38127
2. Docket Number: 2:02CR20098-00l

3. District/Office: Western District of Tennessee, Memphis

4. Original Sentence Date August 28 2003
month day year

 

(]fdijj%rent than above).'
5. OriginalDistrict/Ofiice:

6. Original Docket Number :

7. List each violation and determine the applicable grade {_se;e §7Bl.l}:

 

 

 

 

 

 

Violation{ sl Grade
New Criminal Conduct: Introduction of Contraband into a Penal Facility B
Drug Use C
Possession of Marijuana C
Failure to Notify Probation Officer of Arrest C
Failure to Participate in Mental Health Treatment C
8. Most Serious Grade of Violation (_sg §7B1.1(b) B
9. Criminal History Category (_s_e_¢_z §7B1.4(a))74 I
10. Range of imprisonment (Yg §7Bl.4(a)) 4 -10 months

 

 

 

The Statutory Maxirnum is 24 months.

11. Sentencing Options for Grade B and C violations Only (Check the appropriate box):

{X} (a) lf the minimum term of imprisonment determined under § 7Bl.4 (Term of lmprisonment) is at least one month
but not more than six months, § 713 l .3(c)(]) provides sentencing options to imprisonment

{ } (b) if the minimum term of imprisonment determined under §7B1.4 (Term of Imprisonment) is more than six months
but not more than ten months, § 7Bl.3(c)(2) provides sentencing options to imprisonment

{ } (c) If the minimum term of imprisonment determined under § 7Bl.4 (Term of Imprisonment) is more than ten months,
no sentencing options to imprisonment are available

Mail documents to: United States sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

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Defendant: Charmane llanes

12. Unsatisfied Conditions of ()riginal Sentence

List any restitution, fine community confinement, home detention, or intermittent confinement
Previously imposed in connection With the sentence for Which revocation is ordered that remains
unpaid or unserved at the time of revocation { see § 7B1.3(d)}:

 

 

 

Restitution NfA Community Confinement N/A
Fine N/A Home Detention N/A
Other/Special Assessment N/A Interrnittent Confinement N/A

13. Supervised Release

If probation is to be revoked, determine the length, if any, of the term of supervised release
according to the provisions of§ §5D1.l-1.3{§Y § §7B1.3(g) (l)}.
Term:

If supervised release is revoked and the term of imprisonment imposed is less than the maxim term
of imprisonment upon revocation, the defendant may, to the extent permitted by law, be ordered to
recommence supervised release upon release from imprisonment { se_e 18U.S.C.§3583(e) and
§7Bl-3(g) (2)}-

Period of supervised release to be served following release from imprisonment [_]

14. Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of
imprisonment

15. Official Detention Adjustment {Y_ §7B1.3(e)}: |Adiust Months] months |Adiust Days| days

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

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Bond Recommendation

Charmane Jones has failed to comply with the conditions of his supervised release. He has tested
positive for the use of Marijuana on two occasions and has failed to comply with the requirement
to participate in mental health counseling

Additionally, Mr. Jones has been convicted in the Bartlett City Court for failure to appear. Due to
his use of drugs, his non-compliance with supervision requirements and his recent history of not
appearing for court Mr. Charmane Jones is a significant risk for not appearing for his future court
hearings It also appears that no condition or set of conditions would assure Mr. Jones’ appearance
at court or could guarantee his abstinence from the use of drugs while out on bond.

lt is the recommendation of the United States Probation Office that Mr. Charmane Jones be held
without bond

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Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:02-CR-20098 Was distributed by faX, mail, or direct printing on
.lune 8, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

